          Case 2:17-cr-00169-KJD-VCF           Document 63      Filed 10/03/17     Page 1 of 1




1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                         2:17-cr-00169-KJD-VCF
      vs.                                                 ORDER
8     KYLE BLACKMAN,
                                                          MOTION FOR JOINDER (ECF NO. 48)
9                          Defendant.

10

11          Before the Court is Kyle Blackman’s Motion for Joinder to Nikolas Delarosa’s Motion to Dismiss.
12   (ECF No. 48). For the reasons discussed below, Blackman’s motion is denied as moot.
13          In Delarosa’s motion to dismiss, Delarosa sought to dismiss Count Two of the original indictment,
14   18 U.S.C.§ 924(c)(1)(A)(ii) and (iii) Possession of Firearm in Furtherance of a Crime of Violence. (ECF
15   No. 47). In the superseding indictment, neither Delarosa nor Blackman was charged with the crime of 18
16   U.S.C.§ 924(c)(1)(A)(ii) and (iii) Possession of Firearm in Furtherance of a Crime of Violence. (ECF No.
17   49). Delarosa’s motion to dismiss has been denied as moot. (ECF No. 62).
18          Accordingly,
19          IT IS HEREBY ORDERED that Blackman’s Motion for Joinder (ECF No. 48) is DENIED as
20   MOOT.
21          DATED this 3rd day of October, 2017.
                                                                _________________________
22
                                                                CAM FERENBACH
23
                                                                UNITED STATES MAGISTRATE JUDGE

24

25
